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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )          CASE NO. 8:15CR321-002
                                            )
             Plaintiff,                     )
                                            )               MEMORANDUM
             vs.                            )                AND ORDER
                                            )
JOSE ALBERTO HERNANDEZ ORTIZ,               )
                                            )
             Defendant.                     )

      This matter is before the Court on the Defendant’s Motion to Modify and Reduce

Sentence pursuant to 18 U.S.C. § 3582(c)(2), ECF No. 155. The Defendant appears to

have used a form pleading, seeking a sentence reduction pursuant to Amendment 782 to

U.S.S.G. § 2D1.1, which became effective on November 1, 2014, and was applied

retroactively to defendants sentenced before that date. U.S. SENTENCING GUIDELINES

MANUAL § 2D1.1 (U.S. SENTENCING COMM’N 2014).

      The Defendant was sentenced on September 12, 2016, well after the effective date

of Amendment 782, and his ten-year sentence reflected the mandatory minium term of

incarceration. His Motion is without merit. Accordingly,

      IT IS ORDERED:

      1.     The Defendant’s Motion to Modify and Reduce Sentence, ECF No. 155, is

      denied; and

      3.     The Clerk of Court is ordered to mail a copy of this order to the Defendant

      at his last known address.

      DATED this day of 4th day of January, 2017.

                                                BY THE COURT:
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                                          s/Laurie Smith Camp
                                          Chief United States District Judge




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